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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                                 Case No.: 21-CR-026 (CRC)

UNITED STATES OF AMERICA,
           Plaintiff,
      v.                                      Case No. 21-cr-026 (CRC)
CHRISTOPHER MICHAEL ALBERTS
           Defendant.
                      __________________________/

       ALBERTS PROPOSED JURY INSTRUCTION ON JUSTIFIED USE OF FORCE

COMES NOW, Defendant, CHRISTOPHER                  MICHAEL         ALBERTS,       (hereinafter,

“Defendant” or “Alberts”), by and through undersigned counsel, with this proposed jury instruction

on justified use of force.


Proposed Instruction No. __

ASSAULT ON FEDERAL OFFICER OR EMPLOYEE—DEFENSES

The defendant asserts that [he] [she] acted in self-defense and defense of others. It is a defense to
the charge if (1) the defendant did not know that Officer Shauni Kerkhoff, Sergeant Adam
DesCamp, Sergeant Matthew Flood, Officer Eugene Goodman, Officer Stephen Sherman, Officer
Brett Sorrell, or Inspector Amy Hyman were federal officers, (2) the defendant reasonably believed
that use of force was necessary to defend oneself or others against an immediate use of excessive
force, and (3) the defendant used no more force than appeared reasonably necessary in the
circumstances.


In addition to proving all the elements of the crime beyond a reasonable doubt, the government
must also prove beyond a reasonable doubt either (1) that the defendant knew that Officer Shauni
Kerkhoff, Sergeant Adam DesCamp, Sergeant Matthew Flood, Officer Eugene Goodman, Officer
Stephen Sherman, Officer Brett Sorrell, or Inspector Amy Hyman [name of federal officer or
employee were federal officers or (2) that the defendant did not reasonably believe force was
necessary to defend against an immediate use of unlawful force or (3) that the defendant used more
force than appeared reasonably necessary in the circumstances.
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Note: In United States v. Span, 970 F.2d 573 (9th Cir.1992), the Ninth Circuit upheld this instruction.
The court cautioned, however, that "the model instruction would be inappropriate in a case where a
defendant's theory of the case is self-defense against the use of excessive force by a federal law
enforcement officer." Id. at 577 (emphasis in original). In such a case, the instruction must be
modified appropriately.


RESPECTFULLY SUBMITTED,
/s/ Roger Roots
Roger I. Roots, esq.
John Pierce Law
21550 Oxnard Street
3rd Floor PMB #172
Woodland Hills, CA 91367
Counsel for Defendant




CERTIFICATE OF SERVICE
I hereby certify and attest that on April 18, 2023, I caused this document to be
uploaded into this Court’s electronic filing system, thereby serving it upon all
parties of record.
/s/ Roger Roots
